Case 2:04-cV-02033-.]P|\/|-de Document 43 Filed 08/01/05 Page 1 cyage|D 83

FlLED BY ,_.____ .C.
IN THE U'NITED STATES DISTRICT COURT

FoR THE WESTERN DISTRICT oF TENng§§§g-| PH S:Uh

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ERICSON GROUP, INC.,

Plaintiff/Counter-
Defendant,

v. No. 04-2033 Ml/v
MARDI GRAs zoNE, LLc,

Defendant/Counter-
Plaintiff.

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ORDER SETT'ING TELEPHONE CONFERENCE

 

A telephone conference has been set for MondavI Auqust 8,
2005. at 9:00 a.m. to set new trial dates in this matter.
Defendant/Counter-Plaintiff Mardi Gras Zone, LLC, shall initiate

the call to the Court with all parties on the line.

SO ORDERED this \ day of August, 2005.

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JGN P. MCCALLA
UNI ED STATES DISTRICT JUDGE

 

Th!s document entered on the docket sheet In compliance
with F\ule 58 andfor ?S(a) FRCP on g 12 '_Q > 4

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Notice of Distribution

This notice confirms a copy of the document docketed as number 43 in
ease 2:04-CV-02033 Was distributed by faX, mail, or direct printing on
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Honorable .1 on MeCalla
US DISTRICT COURT

